Case 1:04-cv-01248-.]DT-STA Document 5 Filed 06/07/05 Page 1 of 2 Page|D 19
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Unlted States District Court §LEW a or metro
WESTERN DISTRICT oF TENNESSEE w D_R§,,U?-T§j Dlsr _
Eastern Division JACKSON
RUDOLPH PoWERS JUDGMENT |N A C|VlL CASE
V.

CORRECTIONS OFFICER SPRINGER,
et aI. CASE NUMBER: 04-1248-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 06/06/05, this case is hereby D|SM|SSED for failure to state
a claim upon which relief can be granted, and for failure to exhaust administrative
remedies. lt is further CERT|F|ED that, pursuant to 28 U.S.C. § 1915(a)(3), any appeal
by plaintiff is not taken in good faith and if the plaintiff wishes to take advantage of the
installment procedures for paying the appellate filing fee, he must comply with the
procedures set out in N|cGore v. Wiqglesworth. 114 F.3d 601, 610-11 (6th Cir. 1997).

APPROVED:

A.<D¢W\

J S D. TODD
UN ED STATES DISTRICT JUDGE

ROBERT R. Di TROLIO
CLERK

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DATE DEPUI Y CL
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with Rule se and/or 79(3) Fch on fzgzz@j .

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
ease 1:04-CV-01248 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

